Case 1:18-cv-03713-TWP-MJD Document 37 Filed 12/12/18 Page 1 of 2 PageID #: 594



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

 JOHN DOE,                                            )
                                                      )
                               Plaintiff,             )
                                                      )
                          v.                          )       No. 1:18-cv-03713-TWP-MJD
                                                      )
 INDIANA UNIVERSITY - BLOOMINGTON,                    )
                                                      )
                               Defendant.             )


                              SCHEDULING ORDER
                    HON. MAGISTRATE JUDGE MARK J. DINSMORE

        This matter is scheduled for a telephonic initial pretrial conference on Friday, January

 18, 2019 at 3:00 p.m. (Eastern). Counsel shall attend the conference by calling the designated

 telephone number, to be provided by the Court via email generated by the Court’s ECF system.

 The parties shall file a proposed Case Management Plan (“CMP”) no fewer than seven days before

 the pretrial conference. Unless the parties agree there are compelling reasons for a departure, the

 CMP shall be in the format set forth in the model CMP found on the Court’s website

 (www.insd.uscourts.gov).

        In advance of the initial pretrial conference, counsel shall also plan for discovery and

 conduct the conference required by Fed. R. Civ. P. 26(f). Represented parties shall attend the

 initial pretrial conference by counsel. Clients are not required (but are permitted) to attend this

 conference.

        Counsel who attend the conference must have their appearance on file. At the conference,

 counsel should be prepared to discuss the issues addressed in the ESI Supplement to Case

 Management Plan found on the Court’s website, in addition to:
Case 1:18-cv-03713-TWP-MJD Document 37 Filed 12/12/18 Page 2 of 2 PageID #: 595



        1. How exhibits will be identified during the discovery process consistent with the Court's
           trial procedures;

        2. The types and number of witnesses the parties anticipate may provide evidence under
           Federal Rule of Evidence 702, 703 or 705;

        3. Any issues anticipated at the outset regarding the scope or nature of discovery
           anticipated in the case;

        4. Any anticipated deviations from the established limitations on discovery;

        5. Any anticipated need for the entry of a protective order in the matter; and

        6. How soon the parties anticipate being in a position to discuss settlement of the matter
           and what specific items of discovery need to be completed prior thereto, and how that
           necessary discovery can be accomplished as quickly and efficiently as possible.


        SO ORDERED.



        Dated: 12 DEC 2018




  Distribution:

  Service will be made electronically
  on all ECF-registered counsel of record
  via email generated by the Court’s ECF system.
